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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 4:08cr29-SPM

MELISSA FRANCES WILLIAMS,

           Defendant.
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                ORDER CONTINUING SENTENCING HEARING

       Upon consideration, the Government’s Motion to Continue Sentencing

(doc. 144) is granted. Defendant Williams’ sentencing hearing is rest for 1:30

p.m. on Tuesday, January 20, 2009, at the United States Courthouse in

Gainesville, Florida.

       SO ORDERED this 20th day of November, 2008.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
